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‘UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

BESTWAY INFLATABLES & MATERIAL Case No. 1:23-cv-02286
CORP..,

Hon. Thomas M. Durkin

Plaintiff,
Vv.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,

PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON

SCHEDULE A,

Defendants.
DECLARATION OF BUDAN LIU

I, Budan Liu, hereby declare as follows:

Ie | have personal knowledge ofthe facts set forth in this Declaration, which | make
in support of Defendant Hangzhou Buda Water Treatment Equipment Co., Ltd. Motion to Dissolve
TRO and Unfreeze Aseas If called as a witness, I could and would testify competently thereto.

2. I am the owner and manager of Defendant Hangzhou Buda Water Treatment Co,;

Ltd. The company is the registered owner and operator of the Amazon store account doing

business under the brand “Cryspool” with Amazon Merchant ID#: A2ZND4UZOIL2HF).
a The product listings on Amazon did previously include a single reference to
Plaintiff's “bestway” trademark, in a section providing information on product compatibility. The

section included a disclaimer that the names used were for reference purposes only. The section

also is clear that CRYSPOOL is an independent brand.
4. Plaintiff's trademark was used for the sole purpose of describing product

compatibility and to provide customers with helpful information regarding both products.
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Defendant’s products are sold under its own brand name and does not use Plaintiff's trademarks
at all.

a On March 23, 2023, I removed the single reference to Plaintiff's trademark after
realizing my mistake of confusing the words “compatible” and “comparable” as the same.

6. Currently, at least $239,178.89 is frozen in Defendant’s Amazon account.
Defendant’s account is also restricted from selling on Amazon because of the TRO. Defendant
cannot pay its employees and will soon be forced to close the bubinieed. |

a Before retaining Defendant’s counsel, | attempted to communicate with Plaintiffs

counsel by e-mail and explain the situation to them and that we do not sell counterfeit products,

but Plaintiffwas unwilling to cooperate.
I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on May 1, 2023 at Hangzhou, China.

BUDAN 42U

Budan Liu

